  Case 2:16-md-02740-JTM-MBN Document 2831-1 Filed 06/08/18 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                           SECTION “H”

THIS DOCUMENT RELATES TO
Gahan v. Sanofi, et al., No. 16-cv-15283
______________________________________________________________________________
 MEMORANDUM IN SUPPORT OF SANOFI DEFENDANTS’ MOTION FOR RULE 37
                                 SANCTIONS
______________________________________________________________________________




FILED UNDER SEAL




                                      1
